      Case: 1:19-cv-06888 Document #: 1 Filed: 10/18/19 Page 1 of 4 PageID #:1




                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

                                                         )
                                                         )
SHEET METAL WORKERS’ INTERNATIONAL                       )
ASSOCIATION, LOCAL NO. 73,                               )
                                                         ) Case No.:
              and                                        )
                                                         )
THE TRUSTEES of the SHEET METAL WORKERS                  ) Judge:
LOCAL N0. 73 PENSION FUND, SHEET METAL                   )
WORKERS LOCAL N0. 73 WELFARE FUND; and                   )
SHEET METAL WORKERS LOCAL N0. 73                         ) Magistrate Judge:
ANNUITY FUND,                                            )
                                                         )
              Plaintiffs,                                )
v.                                                       )
                                                         )
R.G.H. HEATING & COOLING, INC.,                          )
                                                         )
              Defendant.                                 )



                                       COMPLAINT

       Plaintiffs, SHEET METAL WORKERS LOCAL NO. 73 (hereinafter “Plaintiff Union”)

and THE TRUSTEES of the SHEET METAL WORKERS LOCAL NO. 73 PENSION FUND,

SHEET METAL WORKERS LOCAL NO. 73 WELFARE FUND and SHEET METAL

WORKERS LOCAL NO. 73 ANNUITY FUND (collectively “Plaintiff Funds”) by and through

their attorneys at Gregorio & Marco, Ltd., bring the following action against R.G.H. Heating &

Cooling, Inc. (hereinafter “Defendant” or “Company”).       In support, the Plaintiffs state as

follows:




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       Case: 1:19-cv-06888 Document #: 1 Filed: 10/18/19 Page 2 of 4 PageID #:1




                                        Count I (ERISA)

        1.      This action arises under Section 502 of the Employee Retirement Income Security

Act of 1974, 29 U.S.C. §1132 et seq. (hereinafter referred to as "ERISA") and Section 301 of the

Taft-Hartley Act, 29 U.S.C. §185. Jurisdiction is founded on the existence of questions arising

thereunder.

        2.      The Plaintiff Funds are multiemployer plans as defined under 29 U.S.C. § 1002.

Their principal offices are located at 4550 Roosevelt Road, Hillside, Illinois, within the Northern

District of Illinois.

        3.      The Defendant is an employer engaged in the sheet metal industry. Its principle

office is located at 140 Arrowhead Dr., #7, Hampshire, IL 60140, and is within the Northern

District of Illinois.

        4.      The Plaintiff Funds receive contributions from numerous employers pursuant to

Collective Bargaining Agreements between the employers and the Plaintiff Union.

        5.      On May 11, 2007, Defendant executed a Supplemental Agreement (hereinafter

“Agreement”) with the Sheet Metal Workers’ Union, Local No. 73 and other documents

acknowledging receipt of a Collective Bargaining Agreement (hereinafter “CBA”) and

acknowledging the Agreement and Declaration of Trust, true and correct copies of which are

attached hereto as Exhibit A. By its terms, the Supplemental Agreement between Defendant and

the Union adopted the terms of the CBA. The CBA binds Defendant to the terms of the Trust

Agreements which created the Plaintiff Funds.

        6.      The CBA requires Defendant to contribute to the Plaintiff Funds and binds

Defendant to the plan’s governing documents, including the Trust Agreement.             The Trust

Agreement requires the Defendant to submit monthly reports listing the hours worked by its



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      Case: 1:19-cv-06888 Document #: 1 Filed: 10/18/19 Page 3 of 4 PageID #:1




bargaining unit employees (hereinafter referred to as "monthly contribution reports").          The

Defendant is also required to make concurrent payment of contributions to the Plaintiff Funds

based upon the hours worked by said employees.

       7.      Defendant has breached its obligations under the Trust Agreement and the CBA by

failing to submit monthly contribution reports for the months of February 2019 through the present.

       8.      Due to Defendant’s failure to submit contribution reports, Plaintiffs are unable to

calculate the amount of any monthly contributions and/or late assessments which may be due for

the above-listed months.

       9.      Plaintiffs have requested that Defendant become current and perform its obligations

listed above, but Defendant has failed and refused to so perform.

       10.     As an employer obligated to make fringe benefit contributions to the Funds,

Defendant is specifically obligated to compensate Plaintiffs for the additional administrative costs

and burdens imposed by Defendant’s failure to submit reports or pay contributions, by paying

liquidated damages on the whole amount of any contributions remaining unpaid, together with

interest, as provided in 29 U.S.C. §1132(g)(2)(B).

        11.    As an employer obligated to make fringe benefit contributions to the Funds,

Defendant is specifically obligated to pay Plaintiff’s reasonable attorneys’ fees and costs

necessarily incurred in the prosecution of any action to recover delinquent contributions, as

provided in 29 U.S.C. §1132(g)(2)(D).

       12.     Pursuant to 29 U.S.C. §1132(g)(2)(C), Plaintiffs are entitled to an amount equal to

the greater of a) double interest on the unpaid contributions or b) interest plus liquidated damages

provided for under the Trust Agreements not in excess of 20% of the amount due.




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       Case: 1:19-cv-06888 Document #: 1 Filed: 10/18/19 Page 4 of 4 PageID #:1




WHEREFORE, Plaintiffs pray:
        A.        That the Defendant be ordered to submit the reports referenced in Count I pursuant
                  29 U.S.C. §§1132(g)(A), 1145;
        B.        That Defendant be ordered to pay the amounts owed on the contribution reports
                  referenced in Count I;
        C.       That the Defendant be ordered to pay interest on any contributions found to be due
                 from the reports referenced in Count I pursuant to 29 U.S.C. §1132(g)(2)(B);
        D.       That the Defendant be ordered to pay liquidated damages on any delinquent
                 contributions found to be due from the reports referenced in Count I pursuant to 29
                 U.S.C. §1132(g)(2)(C);
        E.       That Defendant be ordered to pay the late assessments found to be due from the
                 reports referenced in Count I pursuant to 29 U.S.C. §1145.
        F.       That the Defendant be ordered to pay the reasonable attorney fees and costs
                 incurred by the Plaintiffs referenced in Count I pursuant to 29 U.S.C.
                 §1132(g)(2)(D);
        G        That Plaintiffs be granted such other relief as the Court deems just and equitable.



                                                       Respectfully submitted,
                                                       Sheet Metal Workers 73 Benefit Funds


                                                       BY:/s/ Michael J. McGuire
                                                              One of their attorneys

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